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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                    EASTERN DIVISION


BRADLEY DEWALL, M.D.                             )
and                                              )
WOUND MANAGEMENT CONSULTANTS,                    )   No. 3:21-cv-10
P.C.                                             )
                                                 )   COMPLAINT FOR DECLARATORY
       Plaintiffs,                               )   JUDGMENT AND OTHER RELIEF
                                                 )
       v.                                        )
                                                 )
MEDICAL PROTECTIVE COMPANY,                      )
                                                 )
       Defendant.                                )
                                                 )


I.     Nature of the Action

       1.      Plaintiffs Dr. Bradley DeWall (“Dr. DeWall”) and Wound Management

Consultants, P.C. (“WMC”) (collectively “Plaintiffs”) assert this insurance coverage action for

declaratory judgment, breach of contract and bad faith arising from the denial of defense and

indemnification obligations owed by Defendant Medical Protective Company (“MedPro”) to Dr.

DeWall and WMC under the MedPro Policies (defined below) for the underlying Genesis

Arbitration (defined below).

       2.      The Genesis Arbitration is an ongoing dispute between Plaintiffs and the Genesis

Health System (“Genesis”) wherein Genesis seeks reimbursement of nearly $1 million from Dr.

DeWall and WMC, with Genesis at its core contending that Dr. DeWall and WMC failed to

provide professional services, including patient treatment authorization and the related

documenting patients’ medical files, such that Genesis could in turn provide “administrative billing

functions” in order to submit such professional services rendered by Dr. DeWall and WMC to



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Medicare for payment. Under this arrangement, Genesis contends it provided only “administrative

billing functions”, while Dr. DeWall and WMC were responsible for “determin[ing] the care a

patient received” – the professional services rendered, covered by the MedPro Policies at issue

here:

              Genesis’s administrative billing functions: “Genesis employed case managers

               (RNs) who performed administrative billing functions” in connection with seeking

               Medicare payment for services rendered to patients by Dr. DeWall and WMC

               (Exhibit 3, Genesis Amended Arbitration Complaint, ¶ 36);

              Genesis’s administrative billing functions: “The [Genesis] case managers (RNs)

               who performed administrative billing functions . . . relied on Dr. DeWall and

               WMC’s policies, procedures and protocols . . . for HBO therapy services [rendered

               to patients].” (Id. at ¶ 37);

              Genesis’s administrative billing functions: “The case managers (RNs) who

               performed administrative billing functions . . . relied on WMC physicians to

               appropriately document the medical records to support HBO therapy services

               provided.” (Id. at ¶ 38);

              Based on DeWall’s and WMC’s professional services to patients: “It was the

               responsibility of physicians assigned to [Genesis’s Wound Care] Clinic to

               determine the care a patient received, not Genesis’ case managers (RNs) who

               performed administrative billing functions” (Id. at ¶ 94);

              Again, DeWall’s and WMC’s professional services to patients: “WMC’s

               physicians [Dr. DeWall] had an obligation to adequately document the medical

               records . . . If the physician ordered treatment, the physician was required to assess


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                and document the physician’s findings to justify the treatment.” (Id. at ¶¶ 92, 95);

                and

               The crux of Genesis’s claims at issue: “Dr. DeWall . . . personally provided

                hyperbaric therapy services for patients . . . Dr. DeWall failed to ensure the clinical

                documentation he personally prepared for hyperbaric therapy services complied”

                so that Genesis could submit the same and be paid by Medicare for professional

                services rendered. (Id. at ¶¶ 97, 99.)

At its core, Genesis contends that Dr. DeWall’s and WMC’s failure to provide professional

services to patients, including allegedly incorrectly documenting such patient services, rendered

defective Genesis’s administrative billing of those services -- causing Genesis to have to reimburse

Medicare for payments for said services -- for which Genesis seeks reimbursement from Dr.

DeWall and WMC. Simply put, Genesis is complaining about Dr. DeWall’s and WMC’s

rendering of professional services, triggering coverage under the MedPro Policies.

       3.       Plaintiffs seek a declaration regarding the rights and obligations of the Parties under

insurance policies they purchased from MedPro, including that MedPro has a duty to defend (and

indemnify) Dr. DeWall and WMC against Genesis’s claims (and reimburse Dr. DeWall and WMC

their defense expenses already incurred); damages to remedy MedPro’s breach of contracts (the

MedPro Policies); and bad faith damages arising from MedPro’s meritless denial of coverage here.

II.    The Parties

       4.       Plaintiff Dr. Bradley DeWall (“Dr. DeWall”) is a citizen of the State of Iowa and

resides in LeClaire, Scott County, Iowa.




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       5.      Plaintiff Wound Management Consultants, P.C. (“WMC”) is a professional

corporation organized and existing under the laws of the State of Iowa. WMC is, and at all times

material hereto has been, exclusively owned and managed by Dr. DeWall.

       6.      Defendant Medical Protective Company is an insurance company organized and

existing under the laws of the State of Indiana, with its principal place of business in Fort Wayne,

Indiana.

III.   Jurisdiction and Venue

       7.      This declaratory judgment action is brought pursuant to 28 U.S.C. §§ 2201 and

2202, and Fed. R. Civ. P. 57.

       8.      An actual justiciable controversy exists between Plaintiffs and MedPro within the

meaning of 28 U.S.C. § 2201 regarding whether MedPro has a duty to reimburse defense costs,

otherwise defend and indemnify Plaintiffs against the Genesis Arbitration under the MedPro

Policies, as more particularly described below.

       9.      This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1) because

the amount in controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs,

and this action is between citizens of different states.

       10.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), as a substantial

part of the events and omissions giving rise to Plaintiffs’ claims occurred in this judicial district.

IV.    The MedPro Policies at Issue

       11.     Dr. DeWall is the holder of MedPro Policy No. 686137 (“DeWall Policy”),

effective from December 15, 2019 to December 15, 2020 with a retroactive date of December 15,

2000, attached hereto as Exhibit 1.




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       12.     The DeWall Policy provides coverage on a claims-made basis without limits with

respect to defense costs, and $1,000,000 per-claim and $3,000,000 annual aggregate limits with

respect to indemnity. (Exhibit 1 at p. 3.)

       13.     WMC is the holder of MedPro Policy No. C51011 (“WMC Policy”; the DeWall

Policy and WMC Policy are collectively the “MedPro Policies”), effective from December 15,

2013 to December 15, 2014 with a retroactive date of January 23, 2009. Per endorsement, the

WMC Policy provided an extended reporting period. (See Exhibit 2, WMC Policy, Endt. 780.)

       14.     The WMC Policy provides coverage on a claims-made basis without limits with

respect to defense costs, and $1,000,000 per-claim and $3,000,000 annual aggregate limits with

respect to indemnity. (Exhibit 2 at p. 3.)

       15.     In both Policies, MedPro “agree[d] to defend and pay damages, in the name and on

behalf of the Insured . . . [i]n any claim first made . . . during the term of this policy based upon

professional services rendered, or which should have been rendered, after the retroactive date by

the Insured.” (Exhibit 1, Endt. 828 at p. 1; Exhibit 2, Endt. 829 at p. 1.)

       16.     Both Policies define “professional services” to include “the rendering of medical,

surgical, dental, or nursing services to a patient and the provision of medical examinations,

opinions, or consultations regarding a person’s medical condition within the Insured’s practice as

a licensed health care provider.” (Exhibit 1, Endt. 828 at p. 2; Exhibit 2, Endt. 829 at p. 2.)

       17.     Both Policies include an endorsement entitled “MEDICARE/MEDICAID

BILLING ACTIONS LIMITED DEFENSE COVERAGE” (the “Medicare Endorsement”) which

purports to “broaden[]” MedPro’s duty to defend “to include the defense of an Insured in an

investigation, civil suit and/or administrative proceeding which is brought by a state or federal




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agency which alleges improper submission of claims for reimbursement under the Medicare or

Medicaid program.” (Exhibits 1 and 2, Endt. 295) (emphasis added.)

          18.    The Medicare Endorsement is not applicable on its face1 because the Genesis

Arbitration is not brought by a state or federal agency, but rather by a private party -- Genesis.

Nonetheless, MedPro initially paid DeWall’s and WMC’s defense costs incurred in the Genesis

Arbitration (albeit only the defense limits of $25,000 per Policy under these Endorsements),

importantly conceding that the underlying Genesis claims arise from the professional services: to

be covered, the underlying claims “must arise from . . . professional services rendered or which

should have been rendered” by Dr. DeWall and WMC. (Exhibits 1 and 2, Endt. 295) (emphasis

added.)

V.        The Genesis Arbitration Alleges Plaintiffs’ Breached Patient Care Responsibilities

          19.    The claims for which Plaintiffs seek coverage here are asserted in an arbitration

initiated by Genesis Health System (“Genesis”) in January 2020 on the basis Plaintiffs’ role in

providing professional services to patients in connection with operating a healthcare clinic (the

“Clinic”) owned by Genesis (the “Genesis Arbitration”). (Exhibit 3, Genesis Amended Arbitration

Complaint (served 7/15/20).)

          20.    In the Genesis Arbitration, Genesis alleges that it provides various health care

services to patients in Iowa and Illinois, and that in doing so it coordinated with Dr. DeWall and




1
 While the Medicare Endorsement limits defense coverage to “$25,000 in defense costs for any
single . . . investigation, civil suit and/or administrative proceeding” (Exhibits 1 and 2, Endt. 295,
¶¶ 5-6), it recognizes that claims “aris[ing] from bills or requests for reimbursement for
professional services rendered or which should have been rendered by the Insured” may be
covered under the MedPro Policies by allowing for indemnity coverage where the “such
damages are otherwise payable under the policy.” (Id., ¶ 2.)
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WMC in operation of the Clinic, specializing in wound care and hyperbaric medicine. (Id. at ¶¶ 6-

7.)

       21.     According to Genesis, at the Clinic patients were treated by Dr. DeWall and WMC

with hyperbaric oxygen therapy (“HBO therapy”), which involves giving a patient high

concentrations of oxygen within a pressurized chamber in which the patient intermittently breaths

100-percent oxygen. (Id. at ¶ 87 and Exhibit 14 referenced therein, “Wisconsin Physicians Service

Paid Providers for Hyperbaric Oxygen Therapy Services That Did Not Comply With Medicare

Requirements”.)

       22.     On or about February 1, 2013, WMC and Genesis entered into a Management

Services Agreement (“2013 Agreement”), whereby Genesis retained Dr. DeWall and WMC to

assist in the operation of the Clinic, including to “standardize patient care within the Clinic.” (See

Exhibit 4, Management Services Agreement (also included as part of Exhibit 3 herein and referred

to therein as “Exhibit 1”); Exhibit 3 at ¶ 8.)

       23.     On or about February 1, 2016, WMC and Genesis entered into the Amended and

Substituted Management Services Agreement (“2016 Agreement”), whereby Genesis continued

to retain Dr. DeWall and WMC to assist its operation of the Clinic, including continuing to provide

“standardize[d] patient care within the Clinic.” (See Exhibit 5, Amended and Substituted

Management Services Agreement (also included as part of Exhibit 3 herein and referred to therein

as “Exhibit 2”).)

       24.     Genesis’s Amended Arbitration Complaint alleges that Plaintiffs had substantial

patient care responsibilities at the Clinic and pursuant to the 2013 and 2016 Agreements, including

“overseeing the day-to-day delivery of all Wound Management program services at the Clinic,

including ‘treatment, authorization and documentation.’” (Exhibit 3 at ¶ 93.)



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        25.     Genesis contends Dr. DeWall was “the only full-time physician in the Clinic” and

“treated the majority of the patients who were seen in the Clinic,” including personally

“provid[ing] hyperbaric therapy services for patients.” (Id. at ¶ 97.)

        26.     The “physicians assigned to the Clinic,” including Dr. DeWall and WMC, had “the

responsibility . . . to determine the care a patient received,” and when a “physician ordered

treatment, the physician was required to assess and document the physician’s findings to justify

the treatment.” (Id. at ¶¶ 94-95.)

        27.     Under both Agreements, WMC and DeWall were charged with patient care

responsibilities (“WMC shall have the responsibility for . . . Develop[ing] the systems of care for

patients . . . expand[ing] wound care services . . . [and] expand[ing] the inpatient wound care

program”), while Genesis had responsibility for the billing services at the Clinic (“Genesis shall

retain responsibility . . . for the billing of the technical function for the operation of the Clinic”.

(Exhibits 4 and 5 at ¶ 4.1.)

        28.     Accordingly, Genesis contends that “Genesis employed case managers (RNs) who

performed administrative billing functions in connection with the Clinic”: these “Genesis[-]employed

. . . case managers (RNs) who performed administrative billing functions in connection with the Clinic

relied on WMC physicians to appropriately document the medical records to support HBO therapy

services provided at the Clinic.” (Exhibit 3 at ¶¶ 36-38.)

        29.     These “Genesis[] case managers (RNs) who performed administrative billing functions

in connection with the Clinic” had no responsibility for “determine[ing] the care a patient received” –

instead Dr. DeWall and WMC held the responsibility “to determine the care a patient received”. (Id.

at ¶ 94.)

        30.     Genesis retained “ultimate approval and authority” with respect to the

administration and management of the Clinic. (Exhibits 4 and 5 at ¶ 1.).

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        31.     In sum and as alleged by Genesis within the Genesis Arbitration, the 2013 and 2016

Agreements provided the Dr. DeWall and WMC would render professional services in their

assessing, authorizing, and treatment of patients, and Genesis would use the information from

Plaintiffs to submit claims for payment of bills (“Genesis[] case managers (RNs) [] performed

administrative billing functions in connection with the Clinic.”). (Exhibit 3 at ¶94.)

        32.     WPS Reimbursement. In the Genesis Arbitration, Genesis alleges that Dr. DeWall

and WMC are liable for money Genesis paid to Wisconsin Physician Service Insurance

Corporation (“WPS”), a Centers for Medicare & Medicaid Services (“CMS”) contractor. (Exhibit

3 at ¶ 43.)

        33.     Throughout 2013 to 2018 and pursuant to the 2013 and 2016 Agreements, Genesis

submitted to WPS claims for reimbursement under Medicare Part B for HBO therapy services

provided at the Clinic. (Id. at ¶ 87.)

        34.     Medicare coverage for HBO therapy is determined by National Coverage

Determination 20.29 (“NCD 20.29”) issued by CMS. (Id. at ¶ 88.)

        35.     NCD 20.29 allows coverage for HBO therapy under Medicare Part B, but only

under limited circumstances:

                a.    HBO therapy is a covered treatment for certain conditions, including
        diabetic wounds of the lower extremities and chronic refractory osteomyelitis. (Id.)

                b.     For lower-extremity diabetic wound treatment to be covered, “the
        patient’s records must support that the patient has (1) type I or type II diabetes and
        has a lower extremity wound that is due to diabetes, (2) a wound classified as
        Wagner grade III or higher, and (3) failed an adequate course of standard therapy.”
        (Id.)

               c.      “HBO therapy is covered as adjunctive therapy for diabetic wounds
        of lower extremities only after there are no measurable signs of healing for at least
        30 days of treatment with standard wound therapy and must be used in addition to
        standard wound care.” (Id.)



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               d.     For chronic refractory osteomyelitis to be covered, documentation
        “must support that the condition was unresponsive to both conventional medical
        and surgical management.” (Id.)

        36.     In February 2018, the CMS Office of Inspector General (“OIG”) issued a report

that determined that WPS had paid claims for HBO therapy that did not comply with these

Medicare requirements, and it recommended WPS recover from providers, including Genesis, any

overpayments. (Id. at ¶¶ 55-58.).

        37.     The OIG report noted that “the medical records did not always support that HBO

therapy was provided as treatment for a covered condition. Additionally, the medical records did

not always support that HBO therapy was provided only after standard or conventional treatment

failed.” (Id., ¶ 90.)

        38.     Separately from the OIG audit, Genesis alleges that WPS conducted a Targeted

Probe and Educate (“TPE”) review of a more limited number Genesis’s claims for reimbursement

for HBO therapy services. (Id. at ¶¶ 43-51, 82-84.)

        39.     The TPE allegedly identified a number of overpayments based on “issues . . .

relate[d] exclusively to treatment authorization and documentation.” (Id. at ¶¶ 84-85.)

        40.     All told, Genesis contends it repaid to WPS a total of $773,779.00 for uncovered

HBO therapy claims, and it now seeks compensation from Plaintiffs for the amounts it repaid to

WPS and costs it incurred in conducting their investigation and audit. (Id. at ¶ 74.)

        41.     Genesis claims these damages stem from Plaintiffs’ alleged failures to perform,

including the “the day-to-day treatment authorization and documentation for wound management

program services at the Clinic” (id. at ¶ 110), which ultimately resulted in unauthorized HBO

therapy claims and reimbursement to WPS. (Id. at ¶¶ 108-116, 137-143.)




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       42.     Plaintiffs’ alleged failures necessarily stem from their rendering of professional

services at the Clinic. For example, a claim for HBO therapy reimbursement could have failed to

meet NCD 20.29 authorization standards because Plaintiffs, during their treatment or examination

of a patient, did any one of the following:

               a.      incorrectly diagnosed that a treated wound was due to diabetes;

               b.      improperly determined the Wagner grade scale of a treated wound;

               c.      misjudged the adequacy of or responsiveness to standard or
                       conventional treatments;

               d.      failed to identify measurable signs of healing in a wound;

               e.      forewent any of the above assessments.

(Compare id. at ¶ 88 (explaining patient treatment and documentation standards under NCD 20.29)

with id. at ¶¶ 110-115; 140-141 (alleging Plaintiffs failed to provide patient “treatment authorization

and documentation.”)

       43.     A claim for HBO therapy reimbursement could also have allegedly failed to meet

NCD 20.29 standards if Plaintiffs’ documentation of their assessment and treatments of patients

was incomplete or inaccurate as to any of the above requirements. (Id.)

       44.     In sum, Genesis seeks reimbursement from Dr. DeWall and WMC because, starting

in 2013, “WMC and Dr. DeWall failed to ensure clinical documentation was accurate and/or

adequate for claim submission . . . Dr. DeWall failed to ensure the clinical documentation he

personally prepared for [HBO] services complied” for Medicare reimbursement. (Id., ¶¶ 86-87,

89, 92-99.)

       45.     In this way, Genesis’s claims that Plaintiffs caused them to bill WPS for uncovered

HBO therapy services are “based on” the rendering or failure to render professional services as

defined in the MedPro Policies: “the rendering of medical . . . services to a patient and the provision


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of medical examinations, opinions, or consultations regarding a person’s medical condition.”

(Exhibit 1, Endt. 828 at p. 2; Exhibit 2, Endt. 829 at p. 2.)

        46.    This is so given, per Genesis’s allegations, Genesis personnel “performed

administrative billing functions in connection with the Clinic” (Exhibit 3 at ¶ 36), while Dr.

DeWall and WMC were to conduct “the day-to-day delivery of all Wound Management program

services at the Clinic, including ‘treatment, authorization and documentation.’” (Id. at ¶ 93.)

        47.    Employee Salary Claims. Genesis’s Arbitration claims are also based on WMC’s

employment of (or failure to employ) medical staff, who were to provide medical services in the

following positions: a Program/Clinical Director, a Safety Director, and an HBO Technician. (Id.

at ¶¶ 118; 126.)

        48.    The Program/Clinical Director was to be “a registered nurse with experience in the

provision of nursing services related to wound management and hyperbaric medicine and the

administration and oversight of wound care clinics,” while the Safety Director and HBO

Technician were to “be appropriately trained and experienced in the management and operation of

hyperbaric oxygen chambers” and “providing support to the Clinic.” (Exhibits 4 and 5 at ¶¶ 3.3(a)-

(b).)

        49.    WMC allegedly “did not employ three individuals for these positions,” but instead,

“had the same individual serving as the Program/Clinical Director, the Safety Director and/or HBO

Technician,” again, in essence, a failure to render professional services. (Exhibit 3 at ¶¶ 104-105.)

        50.    Genesis is seeking reimbursement for the salaries it paid for the allegedly-unfilled

positions – again claims anchored in “professional services rendered or which should have been

rendered” by Dr. DeWall and WMC, triggering coverage under the MedPro Policies. (Id. at ¶¶

123, 132.)



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VI.    Plaintiffs’ Demands for Coverage; MedPro’s Meritless Denials

       51.     Dr. DeWall and WMC timely notified MedPro of the Genesis Arbitration.

Acknowledging the MedPro Policies were triggered by Genesis Arbitration claims, MedPro

initially began defending Plaintiffs, because after “review of the Medicare Endorsement included

in [Plaintiffs’] policy,” MedPro “concur[red] that it is triggered by the Genesis Arbitration.”

(Exhibit 6, correspondence regarding notice of Genesis Arbitration to MedPro, MedPro’s T.

Springman 1/23-24/20 emails to Dr. DeWall.)

       52.     MedPro initially insisted that, based on the inapplicable Medicare Endorsement,

Plaintiffs “have a total of $50,000 in coverage for legal fees and expenses incurred in the

arbitration”. (Id., S. Heil 2/24/20 email to Dr. DeWall.)

       53.     In addition, MedPro and offered to send a coverage “acknowledgment letter that

will confirm your coverage” of the Genesis Arbitration under both MedPro Policies, but never did

so before it began reimbursing Plaintiffs’ defense costs. (Id., T. Springman 1/23-24/20 emails to

Dr. DeWall; T. Springman 4/6/20 email to Dr. DeWall and Kevin Collins, confirming

reimbursement of defense costs.)

       54.     On multiple occasions, Plaintiffs demanded coverage beyond that provided in the

Policies’ (inapplicable on this face) Medicare Endorsement, including continued defense and

indemnity, pointing out that “assessment, authorization, treatment, and documentation ‘regarding

a person’s medical condition within the Insured’s practice,” as Genesis alleges “clearly entails the

exercise of a medical professional’s specialized training and knowledge, and Genesis’s claims are

‘based on’ the ‘rendering of medical . . . services to a patient and the provision of medical

examinations, opinions, or consultations regarding a person’s medical condition,’ thereby squarely




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falling within the Policies’ definition of ‘professional services.’” (Exhibit 7, correspondence

demanding coverage, T. Hill 8/19/20 letter to MedPro’s T. Springman at p. 2.)

       55.     Plaintiffs also pointed out to MedPro that “because MedPro has already paid a

portion of WMC’s and Dr. DeWall’s defense expenses (including both attorneys and expert fees)

incurred in the Genesis Arbitration pursuant to each Policy’s [Medicare Endorsement], which

coverage ‘arise[s] from . . . professional services rendered or which should have been rendered’,

MedPro ha[d] already acknowledged that the Genesis Arbitration claims are “based on

professional services rendered or which should have been rendered’.” (Id. at p. 3.)

       56.     Plaintiffs further noted that the Medicare “endorsement does not apply on its face,

as it provides coverage in response to applicable claims ‘brought by a state or federal agency,’

which is not the case with the Genesis Arbitration at issue”, and that MedPro undertook Plaintiffs’

defense “without reserving rights under the Policies, thus waiving Policy defenses.” (Id., T. Hill

10/28/20 letter to MedPro’s G. Lambert at p. 4.)

       57.     MedPro improperly denied Plaintiffs’ coverage demands on the false premise that

the Plaintiffs’ liability in the Genesis Arbitration was based solely on “billing” rather than Dr.

DeWall’s and WMC’s provision of professional services, simply choosing to ignore the Genesis

Arbitration allegations (and MedPro’s prior “acknowledgement [of] . . . your coverage” to the

detriment of Plaintiffs). (Exhibit 6, MedPro’s T. Springman 1/23-24/20 emails to Dr. DeWall.)

       58.     Contrary to MedPro’s position, courts routinely hold that claims alleging improper

or erroneous billing are covered under professional services policies where, as here, there is a

causal connection between the professional services and the billing. E.g., Affinity Living Group,

LLC v. StarStone Specialty Ins. Co., 959 F.3d 634, 643 (4th Cir. 2020) (ruling the insurer was

obligated to defend its insured by holding that medical billing falls within “professional services”



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definition where the rendering or “failure to ‘render medical professional services’ bears a causal

relationship to the billing.”); Hartford Fire Ins. Co. v. Whitehall Convalescent & Nursing Home,

Inc., 321 Ill. App. 3d 879, 889 (2001) (ruling a duty to defend existed, holding that allegedly-

fraudulent billing practices for prescription drugs were done “in connection with” furnishing

professional medical treatment and triggered coverage of nursing homes under insurer's

professional services policy).

       59.     To date, Dr. DeWall and WMC have incurred well-over $130,000 in fees and

expenses defending the Genesis Arbitration, and MedPro has not fully reimbursed Plaintiffs for

these expenses as required under the MedPro Policies. Instead, MedPro has paid only $50,000

under the inapplicable Medicare Endorsement of both Policies, and it has refused to further defend

or indemnify Plaintiffs in the Genesis Arbitration.

       60.     MedPro owes Plaintiffs at least $83,055 in un-reimbursed defense expenses

incurred to date, plus an ongoing defense and indemnification of Dr. DeWall and WMC against

the Genesis Arbitration.

                                     Count I: Declaratory Judgment

       61.     Plaintiffs restate Paragraphs 1 through 60 above as if fully set forth here.

       62.     An actual, ripe, and justiciable controversy has arisen and now exists between

Plaintiffs and MedPro concerning whether Plaintiffs are entitled to insurance coverage for the

claims asserted against them in the Genesis Arbitration within the meaning of 28 U.S.C. §§ 2201

and 2202, and Fed. R. Civ. P. 57.

       63.     Pursuant to the MedPro Policies, MedPro is obliged to defend and indemnify

Plaintiffs for “any claim” that is “based upon professional services rendered, or which should have




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been rendered, after the retroactive date by the Insured.” (Exhibit 1, Endt. 828 at p. 1; Exhibit 2,

Endt. 829 at p. 1.)

        64.     Under Iowa law, an insurer’s “duty to defend rests solely on whether the petition

[here the Genesis Amended Arbitration Complaint, Exhibit 3] contains any allegations that

arguably or potentially bring the action within the policy coverage.” United Fire & Cas. Co. v.

Shelly Funeral Home, Inc., 642 N.W.2d 648, 656 (Iowa 2002) (quoting Employers Mut. Cas. Co.

v. Cedar Rapids Television Co., 552 N.W.2d 639, 641 (Iowa 1996) (emphasis in original). See also

Employers Mut. Cas. Co, 552 N.W.2d at 642 (holding that, in determining the duty to defend, “an

insurance company is to look at the allegations of fact in [a] plaintiff's petition against the insured

and not the legal theories on which [the plaintiff] claims insured is liable.”) (emphasis in original).

        65.     As set forth more fully above, Counts I and V in the Genesis Amended Arbitration

Complaint (Exhibit 3) contain allegations giving rise to the reasonable inference that Plaintiffs’

liability stems from their rendering or failure to render “professional services” as defined by the

MedPro Policies.

        66.     Moreover with respect to Counts II and III of Exhibit 3 (Genesis Amended

Complaint), given the roles the relevant employees were to allegedly hold at the Clinic, these

Genesis allegations of the failure to employ them constitutes a claim “based on . . . professional

services rendered, or which should have been rendered” under the Policies. (Exhibit 1, Endt. 828

at p. 1; Exhibit 2, Endt. 829 at p. 1.)

        67.     Iowa courts “view the provisions of an insurance policy ‘in a light favorable to the

insured.’” Lee v. Grinnell Mut. Reinsurance Co., 646 N.W.2d 403, 406 (Iowa 2002) (quoting A.Y.

McDonald Indus. v. Ins. Co. of N. Am., 475 N.W.2d 607, 619 (Iowa 1991). “If the words are fairly

susceptible to two interpretations the one which will sustain the insured's claim will be accepted.”



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Genesis Ins. Co. v. City of Council Bluffs, 677 F.3d 806, 811 (8th Cir. 2012) (citing Cent. Bearings

Co. v. Wolverine Ins. Co., 179 N.W.2d 443, 445 (Iowa 1970)). Moreover, it is well-established

under Iowa law “that when ‘any claim alleged against the insured can rationally be said to fall

within such coverage, the insurer must defend the entire action’ and doubts regarding the extent of

the insured's coverage should be resolved in the insured's favor.” Maxim Techs., Inc. v. City of

Dubuque, 690 N.W.2d 896, 902 (Iowa 2005); Employers Mut. Cas. Co, 552 N.W.2d at 641

(holding that “the duty to defend rests solely on whether the petition contains any allegations that

arguably or potentially bring the action within the policy coverage.”) (emphasis in original); First

Newton Nat. Bank v. General Cas. Co. of Wisconsin, 426 N.W.2d 618, 630 (Iowa 1988) (“because

there is at least one covered claim . . . the [insurer] must provide a defense on all counts in that

action”).

       68.     As set forth more fully above, the Medicare Endorsement does not limit the

coverage, but instead by MedPro providing coverage under the Medicare Endorsement, MedPro

has acknowledged that the Genesis Arbitration “arise[s] from bills or requests for reimbursement

for professional services rendered or which should have been rendered by” Plaintiffs. (Exhibits 1

and 2, Endt. 295.) MedPro also assumed defense of Dr. DeWall and WMC without reserving any

rights under the MedPro Policies, thus waiving defenses to coverage. E.g., Westfield Ins.

Companies v. Econ. Fire & Cas. Co., 623 N.W.2d 871, 879 (Iowa 2001) (holding that when an

insurance company assumes the defense of an action, with knowledge of facts which would have

permitted it to deny coverage, it is estopped from subsequently raising the defense of non-

coverage).

       WHEREFORE, Dr. DeWall and WMC request that the Court enter the following judgment

in their favor and against MedPro:



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       1.      Awarding Plaintiffs’ all non-reimbursed defense expenses incurred in the Genesis

Arbitration;

       2.      MedPro is obligated to further defend Plaintiffs going forward in the Genesis

Arbitration;

       3.      Pursuant to the MedPro Policies, MedPro is obligated to indemnify Plaintiffs

against all liability incurred in the Genesis Arbitration;

       4.      Awarding Plaintiffs all compensatory and consequential damages against MedPro

in an amount to be proven at trial, as well as costs, pre- and post-judgment interest, disbursements,

expenses and attorneys’ fees incurred arising from this Action and/or establishing coverage under

the MedPro Policies;

       5.      Awarding Plaintiffs punitive damages against MedPro; and

       6.      Awarding such other and further relief as the Court may deem just.

                                   Count II: Breach of Contract

       69.     Plaintiffs restate Paragraphs 1 through 68 above as if fully set forth here.

       70.     The MedPro Policies constitutes valid, binding contracts between Plaintiffs and

MedPro.

       71.     Plaintiffs have at all times performed their obligations under the terms of the

MedPro Policies, including payment of the required premium and providing timely notice.

       72.     Given the claims asserted by Genesis in the Genesis Arbitration, MedPro’s

obligations to provide full coverage under the MedPro Policies has been triggered. As set forth

above, MedPro has already acknowledged its Policies have been triggered by the claims asserted

against Plaintiffs in the Genesis Arbitration, and has paid some defense costs incurred in the




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Arbitration without asserting any reservation of rights, but now refuses to provide any additional

defense or indemnification to Plaintiffs.

       73.     MedPro’s current denial of coverage to Plaintiffs for the claims asserted in the

Genesis Arbitration constitute a breach of the MedPro Policies.

       74.     As a result of MedPro’s breach, Plaintiffs have suffered, and will suffer,

compensatory and consequential damages in an amount to be proved at trial.

       WHEREFORE, Dr. DeWall and WMC request that the Court enter the following judgment

in their favor and against MedPro:

       1.      Awarding Plaintiffs’ all non-reimbursed defense expenses incurred in the Genesis

Arbitration;

       2.      MedPro is obligated to further defend Plaintiffs going forward in the Genesis

Arbitration;

       3.      Pursuant to the MedPro Policies, MedPro is obligated to indemnify Plaintiffs

against all liability incurred in the Genesis Arbitration;

       4.      Awarding Plaintiffs all compensatory and consequential damages against MedPro

in an amount to be proven at trial, as well as costs, pre- and post-judgment interest, disbursements,

expenses and attorneys’ fees incurred arising from this Action and/or establishing coverage under

the MedPro Policies;

       5.      Awarding Plaintiffs punitive damages against MedPro; and

       6.      Awarding such other and further relief as the Court may deem just.

                                   Count III: Promissory Estoppel

       75.     Plaintiffs restate Paragraphs 1 through 74 above as if fully set forth here.




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       76.     MedPro made certain promises and representations to Plaintiffs, as described in

detail above – including in the MedPro Policies, and importantly conceding that the underlying

Genesis claims “arise from . . . professional services rendered or which should have been rendered”

by Dr. DeWall and WMC (the only way the inapplicable Medicare Endorsement would respond,

conceding the Genesis claims trigger “professional services” coverage under the Policies).

(Exhibit 6, T. Springman 1/23-24/20 emails to Dr. DeWall, “concur[ring] that [the Policies are]

triggered by the Genesis arbitration” and offering to send a coverage “acknowledgment letter that

will confirm your coverage” of the Genesis Arbitration under both Policies; T. Springman 4/6/20

email to Dr. DeWall and Kevin Collins, confirming reimbursement of defense costs.)

       77.     MedPro expected that Plaintiffs would rely on such promises.

       78.     Plaintiffs did in fact rely on such promises to their detriment.

       79.     Injustice can only be avoided by enforcement of the promises made by MedPro to

Dr. DeWall and WMC.

       80.     Plaintiffs have suffered, and will continue to suffer, damages as a proximate result

of MedPro’s breaches of their promises to Plaintiffs.

       WHEREFORE, Dr. DeWall and WMC request that the Court enter the following judgment

in their favor and against MedPro:

       1.      Awarding Plaintiffs’ all non-reimbursed defense expenses incurred in the Genesis

Arbitration;

       2.      MedPro is obligated to further defend Plaintiffs going forward in the Genesis

Arbitration;

       3.      Pursuant to the MedPro Policies, MedPro is obligated to indemnify Plaintiffs

against all liability incurred in the Genesis Arbitration;



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        4.      Awarding Plaintiffs all compensatory and consequential damages against MedPro

in an amount to be proven at trial, as well as costs, pre- and post-judgment interest, disbursements,

expenses and attorneys’ fees incurred arising from this Action and/or establishing coverage under

the MedPro Policies;

        5.      Awarding Plaintiffs punitive damages against MedPro; and

        6.      Awarding such other and further relief as the Court may deem just.

                                        Count IV: Bad Faith

        81.     Plaintiffs restate Paragraphs 1 through 80 above as if fully set forth here.

        82.     A covenant of good faith and fair dealing, that MedPro will do nothing to injure the

rights of Plaintiffs in receiving benefits under the MedPro Policies, is implied in the MedPro

Policies at issue. As a result, MedPro has a duty to give proper consideration to the interests of

Plaintiffs. MedPro failed to do so in responding to the Genesis Arbitration, including MedPro’s

refusal to continue to defend Plaintiffs against the Genesis Arbitration.

        83.     As set forth more fully above, MedPro’s coverage positions in response to the

Genesis Arbitration are arbitrary and asserted in bad faith, and for the purpose of preventing

Plaintiffs from accessing the full coverage they purchased under the MedPro Policies. MedPro has

no reasonable basis for asserting their current coverage positions (Plaintiffs are not entitled to

coverage for the Genesis Arbitration), especially after “concur[ring] that [the MedPro Policies are]

triggered by the Genesis arbitration” and offering to send a coverage “acknowledgment letter that

will confirm your coverage”, then paying some defense costs incurred by Plaintiffs, all without

any reservation of rights letter. (Exhibit 6, T. Springman 1/23-24/20 emails to Dr. DeWall.)




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       84.     MedPro knew, or had reason to know, that its coverage positions are without a

reasonable basis and their coverage positions are asserted willfully and in reckless disregard for

Plaintiffs’ rights under the MedPro Policies.

       85.     As a result of the bad faith of MedPro, Plaintiffs have suffered damages in an

amount to be proven at trial. In addition, Plaintiffs are entitled to recover punitive damages and

attorneys’ fees and other expenses incurred in pursuing its coverage claims in this matter.

       WHEREFORE, Dr. DeWall and WMC request that the Court enter the following judgment

in their favor and against MedPro:

       1.      Awarding Plaintiffs’ all non-reimbursed defense expenses incurred in the Genesis

Arbitration;

       2.      MedPro is obligated to further defend Plaintiffs going forward in the Genesis

Arbitration;

       3.      Pursuant to the MedPro Policies, MedPro is obligated to indemnify Plaintiffs

against all liability incurred in the Genesis Arbitration;

       4.      Awarding Plaintiffs all compensatory and consequential damages against MedPro

in an amount to be proven at trial, as well as costs, pre- and post-judgment interest, disbursements,

expenses and attorneys’ fees incurred arising from this Action and/or establishing coverage under

the MedPro Policies;

       5.      Awarding Plaintiffs punitive damages against MedPro; and

       6.      Awarding such other and further relief as the Court may deem just.




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Dated: February 4, 2021                   /s/ Timothy J. Hill
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